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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

LYNN JEAN PIEKSMA, on behalf of herself
and all others similarly situated,

 

Plaintiff,
v. No, 1:15-cv-7312
BBMC MORTGAGE, LLC and BRIDGEVIEW Judge Jorge L. Alonzo
BANCORP, INC., Magistrate Michael T. Mason
Defendants.

JOINT STIPULATION OF SETTLEMENT AND RELEASE

This Joint Stipulation of Settlement and Release (the “Agreement”) is entered into by and between
Lynn Jean Pieksma (the “Named Plaintiff”), individually and on behalf of the conditionally
certified collective of individuals that she represents in the matter Pieksma v. BBMC Mortgage,
LIC et al. (collectively with Named Plaintiff, “Plaintiffs”), and Defendants BBMC Mortgage,
LLC (“BBMC”) and Bridgeview Bancorp, Inc. (collectively “Defendants”) (Defendants together
with Named Plaintiff, the “Parties”).

RECITALS

WHEREAS, Plaintiff filed this lawsuit on August 20, 2015, asserting claims under the
Fair Labor Standards Act (“FLSA”), 29 U.S.C, § 201 et seq. and various California wage/hour
laws alleging that Named Plaintiff and similarly situated employees and former employees were
not paid all overtime compensation due them during their employment with Defendants and that
similarly situated employees employed in the State of California were not paid for rest breaks and
provided meal periods in violation of California state law:

WHEREAS, on December 22, 2016, the Court conditionally certified a collective
consisting of all non-exempt Mortgage Bankers, Mortgage Loan Officers and other similarly titled
mortgage loan officers (collectively referred to herein as “Mortgage Loan Officers” or “MLOs”)
who were employed by BBMC Mortgage, LLC or its successor division within Bridgeview Bank
on and after August 20, 2012.

WHEREAS, after the Court granted conditional certification, 261 individuals timely filed
a Consent to Become a Party Plaintiff in this lawsuit:

WHEREAS, the Parties engaged in extensive discovery and now have decided to settle
this action;

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WHEREAS, the purpose of this Agreement is to settle fully and finally all claims as set
forth in Section 4 of this Agreement and as alleged in the Complaint;

WHEREAS, Defendants deny all of the allegations made by Plaintiffs regarding this
dispute, and deny that they are liable or owe damages to anyone with respect to the alleged facts
or causes of action asserted by Plaintiffs. Nonetheless, without admitting or conceding any
liability or damages whatsoever, Defendants have agreed to settle this dispute on the terms and
conditions set forth in this Agreement, to avoid the burden, expense, and uncertainty of litigation;
and

WHEREAS, Plaintiffs’ Counsel analyzed and evaluated the merits of the claims made
against Defendants, conducted interviews with Plaintiffs and others, obtained and reviewed
documents relating to Defendants’ policies and practices, and analyzed payroll data, and based
upon their analysis and evaluation of a number of factors, and recognizing the substantial risks of
litigation, including the possibility that the dispute, if not settled now, might not result in any
recovery or might result in a recovery less favorable, and that any recovery would not occur for
several years, Plaintiffs’ Counsel are satisfied that the terms and conditions of this Agreement are
fair, reasonable, and adequate and that this Agreement is in the best interests of the Plaintiffs and
putative collective and;

NOW, THEREFORE, in consideration of the mutual covenants and promises set forth in
this Agreement, as well as the good and valuable consideration provided for herein, the Parties
agree to a full and complete settlement of the dispute on the following terms and conditions.

1, DEFINITIONS
The defined terms set forth in this Agreement have the meanings ascribed to them below,

1.1 “Acceptance Period” means the 90 day period that an Eligible Settlement Collective
Member has to cash a Settlement Check after it is received as defined in Section 2.9,

1.2 “Mortgage Loan Officer” or “MLO” means an employee of BBMC Mortgage, LLC or its
successor division within Bridgeview Bank who held the position of BBMC Mortgage
Loan Originator, Banker Assistant, BBMC Mortgage Banker, Junior Loan Originator,
Mortgage Banker and Mortgage Loan Originator, performed the duties of, and was
compensated as a mortgage loan originator and was classified in that position as non-
exempt under the FLSA at any time from August 20, 2012 to January 31, 2019.

1.3 “Class Counsel” or “Plaintiffs’ Counsel” means Rowdy Meeks Legal Group LLC.
1.4 “Court” means the United States District Court for the Northern District of Illinois.
14 “Defendants” means BBMC Mortgage, LLC and Bridgeview Bancorp, Inc.

1.6 “Defendants’ Counsel” means Vedder Price P.C.

1.7 “Eligible Settlement Collective Member” means any and all persons who were employed
by BBMC Mortgage, LLC or its successor division within Bridgeview Bank in the position

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of MLO and classified as non-exempt under the FLSA, at any time from August 20, 2012
to January 31, 2019 and who filed a timely Consent to Become a Party Plaintiff in this
Lawsuit. The Parties agree that there are 261 Eligible Settlement Collective Members.

“Employer Payroll Taxes” means all taxes and withholdings an employer is required to
make arising out of or based upon the payment of employment/wage compensation under
this Agreement, including FICA, FUTA, and SUTA obligations.

“Gross Settlement Amount” means Seven Hundred Twenty Five Thousand and No/100ths
Dollars ($725,000.00), which is the maximum amount that Defendants have agreed to pay
to fully resolve and settle this dispute, including any claim for attorneys’ fees and costs
approved by the Court; any and all amounts to be paid to Participating Settlement
Collective Members; the cost of settlement administration; and any Court-approved
Service Award. Defendant will not be required to pay any more than the gross total of
Seven Hundred Twenty Five Thousand and No/100ths Dollars ($725,000.00), except for
the Employer Payroll Taxes.

“Last Known Address” or “Last Known Addresses” means the most recently recorded
personal mailing address for an Eligible Settlement Collective Member as shown in
Defendants’ records or any updated address the Settlement Administrator possesses for
such Member at the time of mailing.

“Last Known E-mail Address” or “Last Known E-mail Addresses” means the most recently
recorded personal e-mail address for an Eligible Settlement Collective Member as shown
in Defendants’ records or any updated email address the Settlement Administrator
possesses for such Member at the time of emailing.

“Last Known Telephone Number” or “Last Known Telephone Numbers” means the most
recently recorded personal mobile or home telephone number for an Eligible Settlement
Collective Member as shown in Defendants’ records or any updated telephone number the
Settlement Administrator possesses for such Member.

“Litigation” or the “Lawsuit” or the “Action” mean the above-captioned lawsuit.

“Complaint” means the Complaint dated August 20, 2015 that was filed by Named Plaintiff
in this Action.

“Named Plaintiff’ means Lynn Jean Pieksma,

“Net Settlement Fund” means the remainder of the Gross Settlement Amount after
deductions/payments for: (a) the Settlement Administrator’s fees and costs (b) Named
Plaintiff's and Deponents’ Service Awards and (c) Court-approved attorneys’ fees and
costs for Plaintiffs’ Counsel.

“Order Granting Approval of Settlement” or “Approval Order” means an order to be
approved and entered by the Court, which gives final approval to the Settlement and this
Agreement, and enters final judgment incorporating the terms of this Settlement and
dismissing the Action with prejudice.

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“Participating Settlement Collective Members” means each Eligible Settlement Collective
Member, including any Named Plaintiff, who timely cashes a Settlement Check and
thereby agrees to the Settlement and the release of claims in Section 4.

“Parties” collectively means the Plaintiffs and Defendants.

“Qualified Settlement Fund” or “QSF” means the account established by the Settlement
Administrator from the Gross Settlement Amount paid by Defendant. The QSF will be
controlled by the Settlement Administrator subject to the terms of this Agreement and the
Court’s order(s). Interest, if any, earned on any monies in the QSF will become part of the
Net Settlement Fund.

“Releasees” means BBMC Mortgage, LLC, Bridgeview Bancorp, Inc. and each and all of
their affiliates, parents, subsidiaries, predecessors, successors and_ their respective
employees and agents.

“Settlement” means the settlement between the Parties embodied and contained in this
Joint Stipulation of Settlement and Release.

“Settlement Administrator” means Analytics LLC.

“Settlement Agreement” or “Agreement” means this Joint Stipulation of Settlement and
Release and exhibits hereto, which the Parties understand and agree set forth all material
terms and conditions of the Settlement between them, and which is subject to Court
approval.

“Settlement Check” means the check issued to Eligible Settlement Collective Members for
their proportionate share of the Net Settlement Fund calculated in accordance with this
Agreement.

“Settlement Notice” means the document entitled Official Notice and Opportunity to
Participate in Settlement, to be approved by the Court in a form substantially similar to the
Notice attached hereto as Exhibit A,

APPROVAL AND NOTICE TO ELIGIBLE SETTLEMENT COLLECTIVE
MEMBERS

Binding Agreement. This Agreement is a binding agreement and contains all material
agreed-upon terms for the Parties to seek a full and final settlement of the dispute.

Duties of the Settlement Administrator. The Settlement Administrator will be responsible
for establishing a QSF account; preparing and mailing the Settlement Notice to Eligible
Settlement Collective Members: preparing and mailing Settlement Checks; distributing the
approved Service Award and attorneys’ fees and expenses: calculating and paying all
appropriate taxes and complying with all applicable tax reporting obligations, including
preparing and filing all applicable tax forms; retaining and providing a copy of the
Settlement Checks cashed by the Participating Settlement Collective Members to

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Defendant’s Counsel; and preparing a declaration describing all duties performed and
claims administration statistics.

The Parties will have equal access to the Settlement Administrator and all information
related to the administration of the Settlement. The Settlement Administrator will provide
such information to either Party upon request. The Settlement Administrator will provide
regular reports to counsel for the Parties regarding the status of the mailing of the
Settlement Notices to Eligible Settlement Collective Members, the claims administration
process, and distribution of the Settlement Checks.

Defendants agree to cooperate with the Settlement Administrator, provide accurate
information, to the extent reasonably available, necessary to calculate the Settlement
Checks, and assist the Settlement Administrator in locating Eligible Settlement Collective
Members. The Parties agree that it is their mutual goal to maximize participation in the
settlement.

Within fourteen (14) days of the execution of this Settlement Agreement, Plaintiffs’
Counsel shall file a Motion for Approval of Settlement of Collective Action (“Approval
Motion”). Plaintiffs’ Counsel will provide Defendants with a draft of the Approval Motion
for review and comment at least seven (7) days prior to filing it with the Court, and
Defendants will provide Plaintiffs with its comments within five (5) days of receiving the
draft Approval Motion. Should Plaintiffs not incorporate Defendants’ reasonable
comments, Defendants may respond to Plaintiffs’ Approval Motion within fourteen (14)
days after the Approval Motion is filed. Plaintiffs then will be permitted a reply within
seven (7) days after Defendants’ response. With the Approval Motion, Plaintiffs’ Counsel
also will file the Settlement Agreement, Approval Order, and Settlement Notice. Among
other things, the Approval Motion will ask the Court to: (a) issue and enter the Approval
Order approving the Settlement as fair, adequate, and reasonable, (b) approve the proposed
Settlement Notice to be sent to Eligible Settlement Collective Members and the Settlement
Notice distribution process, (c) incorporate the terms of this Settlement, and (d) enter
Judgment dismissing the case without prejudice, with leave to reinstate on or before 180
days after the Approval Order is entered and in the event a motion to reinstate is not filed
on or before 180 days after the Approval Order is entered, the case shall be deemed, without
further order of the Court, to be dismissed with prejudice.

Within five (5S) business days after the Approval Order is entered, Defendant shall give the
Settlement Administrator a list, in electronic form, of the names, Last Known Addresses,
Last Known E-mail Addresses, Last Known Telephone Numbers, social security numbers,
and the work weeks during which each Eligible Settlement Collective Member performed
any compensable work (excluding, for example, vacation, sick days, leaves of absence) in
the position of MLO from August 20, 2012 to January 31, 2019 (“Class List”).

This Settlement Agreement is intended to cover 261 Eligible Settlement Collective
Members. The Parties jointly may agree for good cause to allow an individual who
received a Notice and Consent Form but who did not timely elect to participate in the
Lawsuit to become an Eligible Settlement Collective Member; provided, however, that in
no event shall Defendants be required to pay more than the Gross Settlement Amount of

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Seven Hundred Twenty Five Thousand Dollars ($725,000.00). The decision to allow an
individual to become an Eligible Settlement Collective Member under this Section shall
not constitute a precedent for any other individual.

As discussed in Section 3.4(B), Settlement Notices together with Settlement Checks will
be mailed via First Class United States mail to Eligible Settlement Collective Members by
the Settlement Administrator no earlier than thirty-five (35) days after the Approval Order
is entered and no appeal of the Approval Order is filed. If there is an appeal of the Approval
Order by any person, Settlement Notices and Settlement Checks shall not be sent until all
appeals are decided and the case is returned to the district court and the district court enters
an Order that the Settlement Notices and Settlement Checks should be sent.

Any mailing to an Eligible Settlement Collective Member required under this Agreement
shall be deemed “received” by the Eligible Settlement Collective Member to whom it was
sent three (3) calendar days after the date of mailing. By way of example, a mailing on
April 5 shall be deemed received on April 8. There will be no exceptions to this provision.
The Settlement Administrator shall maintain a record sufficient to establish the date of
mailing,

Settlement Checks issued pursuant to this Agreement shall expire ninety (90) days after
they are received. If a Settlement Check has not been cashed by any Eligible Settlement
Collective Member within forty-five (45) days after it is received, the Settlement
Administrator shall send a letter or postcard to the Eligible Settlement Collective Member
via First Class United States mail inquiring whether they received the Settlement Check
and reminding them of the expiration of the Acceptance Period. After the Acceptance
Period expires, the Settlement Administrator will issue a stop payment order on all
uncashed or returned checks. In the event an Eligible Settlement Collective Member
reports a lost or destroyed Settlement Check within the Acceptance Period, the Settlement
Administrator shall issue a stop payment order on the original check and issue a new check,
which must be cashed within the original Acceptance Period. In no event shall an Eligible
Settlement Collective Member be issued a replacement check until any prior check sent to
them has been cancelled and only one replacement check will be issued to any Eligible
Settlement Collective Member, unless the Parties mutually agree to send additional
replacement check(s).

Thirty (30) days before the close of the ninety (90) day Acceptance Period, at Plaintiffs’
Counsel’s request, the Settlement Administrator also shall take additional steps to remind
Eligible Settlement Collective Members of their eligibility to participate in the Settlement.

After the Approval Order is entered, Defendants will inform Plaintiffs’ counsel whether
they intend to send one or more communications to their current employees encouraging
them to participate in the Settlement. Defendants will provide Plaintiffs’ counsel with at
least seven (7) days to review the communication and will not send the communication if
counsel for the Parties cannot agree on the content.

The Settlement Administrator shall take all reasonable steps to obtain the correct address
of Eligible Settlement Collective Members for whom the Settlement Notice is returned by

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the United States Postal Service as undeliverable and shall make all reasonable attempts to
ensure that the Settlement Notice and Settlement Check are successfully delivered. The
Settlement Administrator will notify Plaintiffs’ Counsel and Defendants’ Counsel of any
mailing sent to any Eligible Settlement Collective Member that is returned as
undeliverable. The issuance of a new Settlement Notice and Settlement Check to a new
address after the first Settlement Notice and Settlement Check is returned undeliverable
will restart the Acceptance Period. The Settlement Administrator shall issue a stop-
payment order on all undelivered, returned checks.

If within twenty days (20) after the close of the Acceptance Period an Eligible Settlement
Collective Member reports a lost or destroyed check, informs the Settlement Administrator
that s/he did not receive a check or otherwise requests reissuance of his/her Settlement
Check, Defendants may approve the reissuance of a Settlement Check to such Eligible
Settlement Collective Members on a case-by-case basis for good cause shown. Reissuance
to a given Eligible Settlement Collective Member will not require reissuance to any other
Eligible Settlement Collective Member.

Plaintiffs’ Counsel and Defendants’ Counsel have the right to make inquiries and receive
any information from the Settlement Administrator related to the claims administration
process, The Settlement Administrator will periodically update Plaintiffs’ Counsel and
Defendants’ Counsel regarding returned mailings for which it is unable to obtain corrected
addresses.

Retention/Filing of Copies of Settlement Checks. The Settlement Administrator shall ona
weekly basis transmit to counsel for the Parties the names of the Eligible Settlement
Collective Members whose Settlement Checks were cashed during the Acceptance Period
and outside the Acceptance Period and shall provide copies of the cashed checks to counsel
for the Parties as they become available to the Settlement Administrator. Within 45 days
after the Acceptance Period ends, the Settlement Administrator shall provide to Counsel
for the Parties a final list of all Eligible Settlement Collective Members whose Settlement
Checks were cashed. It will be prima facie evidence that any Eligible Settlement Collective
Member whose Settlement Check was cashed, elected to become a Participating Settlement
Collective Member and agreed to participate in the Lawsuit, to be bound by the Settlement
Agreement and to enter into the release in Section 4.1 of this Agreement. It will be the
Eligible Settlement Collective Member’s burden to prove that s/he did not cash or authorize
the Settlement Check to be cashed. Defendants may, at their option, file with the Court a
list of the Participating Settlement Collective Members,

Effect of Court Failure to Approve Settlement. In the event the Court fails to approve the
Settlement and/or this Agreement, the Parties (a) must attempt to renegotiate the Settlement
for the purpose of obtaining Court approval of a renegotiated Settlement and Agreement
(b) and/or either or both Parties may seek reconsideration or appellate review of the
decision denying approval of the Settlement or Agreement. In the event reconsideration
and/or appellate review is denied, or a mutually agreed-upon settlement modification is not
approved, and the Parties decide to forego further negotiation of a settlement, the Litigation
will proceed as ifno settlement had been attempted. In that event, nothing in the Settlement

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or Agreement may be used by or against any Party under Rule 408 of the Federal Rules of
Evidence and any applicable state law.

SETTLEMENT TERMS

Settlement Payments

(A)

(B)

(C)

Defendant agrees to pay the maximum gross amount of Seven Hundred Twenty
Five Thousand and No/100ths Dollars ($725,000.00), which shall fully resolve and
satisfy any and all amounts to be paid to Eligible Settlement Collective Members,
any Court-approved Service Award as more fully set forth herein, the Settlement
Administrator’s fees and costs and any claim for attorneys’ fees and costs.
Defendants will not be required to pay more than this amount under the terms of
this Agreement, with the exception of Employer Payroll Taxes.

Within ten (10) days of the Approval Order and creation of the QSF by the
Settlement Administrator, Defendant shall deposit the Gross Settlement Amount
into the QSF. In the event of an appeal of the Approval Order, the Gross Settlement
Amount shall be returned to Defendant within three (3) business days after the
appeal is filed pending disposition of the appeal in accordance with Section 2.8.

Any portion of the Net Settlement Fund that is unclaimed by Eligible Settlement
Collective Members who do not timely cash their Settlement Check, or that
otherwise remains in the QSF or under the control of the Settlement Administrator
upon the final accounting of the settlement funds, shall be donated to an IRS
qualified charitable organization or foundation to be designated by Defendants
within 30 days after entry of the Approval Order. The final accounting and
donation shall occur no later than 200 days after the first Settlement Checks are
mailed and the Settlement Administrator shall provide Plaintiffs’ Counsel and
Defendants’ Counsel with a final accounting and proof of donation.

Settlement Amounts Payable as Attorneys’ Fees and Costs.

(A)

(B)

In their Approval Motion, Plaintiffs’ Counsel shall ask the Court to approve
payment of one-third of the Gross Settlement Amount as an award of attorneys’
fees. In addition, Plaintiffs’ Counsel shall seek reimbursement of reasonable actual
case-related costs and expenses from the Gross Settlement Amount. These amounts
shall constitute full satisfaction of any claim for attorneys’ fees or costs, and
Plaintiffs agree that they shall not seek, nor be entitled to, any additional attorneys’
fees or costs under any theory or from any source, incurred in relation to this case.

The substance of Plaintiffs’ Counsel’s application for attorneys’ fees and costs is
not part of this Agreement and is to be considered separately from the Court’s
consideration of the fairness, reasonableness, adequacy, and good faith of the
Settlement and this Agreement. The outcome of any proceeding related to
Plaintiffs’ Counsel’s application for attorneys’ fees and costs shall not terminate
this Agreement or otherwise affect the Court’s ruling on the motion for settlement
approval. In the event that the Court (or any appellate court) awards less than the

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requested amounts, only the awarded amounts shall be paid and shall constitute full
satisfaction of the obligations of this Section and full payment hereunder. Any
money requested for attorneys’ fees or costs that is not approved by the Court shall
become part of the Net Settlement Fund.

Service Awards to Named Plaintiff and Deponents,

(A)

(B)

(C)

In her Approval Motion, Named Plaintiff will apply to the Court to receive
$10,000.00 from the Gross Settlement Amount for the services she rendered to the
collective.

In her Approval Motion, Named Plaintiff will apply to the Court to pay $500 each
to deponents Jason Weatherman, Roger Hayes, Scott Kardos, Max Burns, and
Michael Pfeil from the Gross Settlement Amount for the services each rendered to
the collective.

This Service Awards and any requirements for obtaining any such payment are
separate and apart from, and in addition to, Named Plaintiff's and each Deponent’s
recovery from the Net Settlement Fund as an Eligible Settlement Collective
Member. The substance of the Named Plaintiff's and the Deponents’ application
for a Service Award is not part of this Agreement and is to be considered separately
from the Court’s consideration of the fairness, reasonableness, adequacy and good
faith of the Settlement and this Agreement. The outcome of the Court’s ruling on
the application for a Service Award shall not terminate this Agreement or otherwise
affect the Court’s ruling on the motion for settlement approval. Any Service Award
money not approved by the Court shall become part of the Net Settlement Fund.

Distribution of Payments.

(A)

(B)

(C)

The payments from the Gross Settlement Amount to Plaintiffs’ Counsel for any
Court-approved attorneys’ fees and costs will be wired to Plaintiffs’ Counsel by the
Settlement Administrator, thirty-five (35) days after the Approval Order is entered.
However, if there is an appeal of the Approval Order by any person, no payments
under this Section shall be made until all appeals are decided and the case is
returned to the district court and the district court enters an Order that the payments
under this Section should be made,

The Settlement Checks and the Service Awards will be mailed to Eligible
Settlement Collective Members and the Named Plaintiff, respectively, by the
Settlement Administrator along with the Settlement Notices in accordance with
Section 2.8. However, if there is an appeal of the Approval Order by any person,
no payments under this Section shall be made until all appeals are decided and the
case is returned to the district court and the district court enters an Order that the
payments under this Section should be made.

The allocation to Eligible Settlement Collective Members for their Settlement
Checks will be made from the Net Settlement Fund after deducting the payments
made to the Eligible Settlement Collective Members as set forth in subsection (D)

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(D)

of this Section. The estimated proportionate share of the Net Settlement Fund for
each Eligible Settlement Collective Member will be determined by the Settlement
Administrator pursuant to the following formula:

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(2)

Each Eligible Settlement Collective Member, including the Named
Plaintiff, shall be assigned one point for each week in which the individual
performed at least one day of compensable work as an MLO between
August 20, 2012 and January 31, 2019. Each Eligible Settlement
Collective Member who worked in California shall have their point(s)
multiplied by 1.2 to reflect their California state law claims.

To calculate each Eligible Settlement Collective Member’s proportionate
share:

(a) Add all points for all Eligible Settlement Collective Members
together to obtain the “Denominator”;

(b) Divide the number of points for each Eligible Settlement Collective
Member by the Denominator to obtain each Eligible Settlement
Collective Members’ “Portion of the Net Settlement Fund”;

(c) Multiply each Eligible Settlement Collective Member’s

proportionate share of the Net Settlement Fund by the Net Settlement Fund to
determine each Eligible Settlement Collective Member’s Settlement Check
amount. Each Eligible Settlement Collective Member shall be offered a
Settlement Payment in the amount calculated as set forth in subparagraph (C)
above, or in the amount of Fifty Dollars ($50.00), whichever is greater,

Tax Characterization of Payments,

(1)

(2)

For tax purposes, 50% of the settlement payment to a Participating
Settlement Collective Member shall be treated as settlement of back wages
and 50% of such payment shall be treated as settlement of interest, any
applicable penalties, liquidated damages and other non-wage relief.

Payments treated as back wages shall be made net of all applicable
employment taxes, including, without limitation, federal, state and local
income tax withholding and the employee share of the FICA tax, and shall
be reported to the Internal Revenue Service (“IRS”) and the payee under
the payee’s name and Social Security number on an IRS Form W-2.
Payments treated as interest, any applicable penalties, and/or liquidated
damages or other non-wage relief shall be made without withholding and
shall be reported to the IRS and the payee, to the extent required by law,
under the payee’s name and Social Security number on an IRS Form 1099,
The Settlement Administrator shall be responsible for determining the
appropriate number of exemptions to be used in calculating payroll tax
and withholding, deciding the appropriate tax rate, issuing the Settlement
Checks and Service Awards and issuing any necessary tax reporting and

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information forms to Participating Settlement Collective Members and any
governmental entity. Payments of attorneys’ fees and costs pursuant to
Section 3.2 shall be made without withholding, and shall be reported to the
IRS and to each payee under the payee’s name and taxpayer identification
number, which each such payee shall provide for this purpose, on an IRS
Form 1099, Any Service Award pursuant to Section 3.3 shall be made
with whatever withholding (if any) that is deemed proper by the
Settlement Administrator and reported to the IRS in whatever way the
Settlement Administrator deems proper.

The employee portion of all applicable income and payroll taxes will be
the sole responsibility of the individual Participating Settlement Collective
Member receiving a Settlement Check or Service Award. Defendants
make no representations, and it is understood and agreed that Defendants
have made no representations, as to the taxability of any portions of the
settlement payments to any Participating Settlement Collective Members,
the payment of any costs or award of attorneys’ fees, or any payments to
the Named Plaintiff. The Settlement Notice will advise Eligible
Settlement Collective Members to seek their own tax advice prior to
acting in response to that Settlement Notice. Neither Plaintiffs’ Counsel
nor Defendants’ Counsel intend anything contained herein to constitute
legal advice regarding the taxability of any amount paid hereunder, nor
will it be relied upon as such.

None of the amounts paid to the Named Plaintiff or Participating
Settlement Collective Members shall create any credit for, be included in,
or otherwise affect the calculation or the accrual of any employee benefits
in any plans, programs, agreements or policies sponsored, maintained or

contributed to by Defendants, including for purposes of any bonus of any
kind.

4, RELEASE OF CLAIMS

4.1 All Settlement Checks shall contain the following on the back of the check:

I understand that I must cash this check on or before [INSERT date 93 days after
mailing] or the check will be null and void.

By cashing the check, I consent to join in the case entitled Pieksma v. BBMC
Mortgage, LLC et. al pending in the United States District Court for the Northern
District of Illinois, No. 15-cv-7312, and agree to be bound by the Settlement
Agreement approved in that case and I agree to the waiver and release of claims
contained on the stub to this check and recited in the Notice at Paragraph 9.

All Settlement Checks shall contain on the stub of the check:

I waive, release, and forever discharge any claim I have or may have through
[INSERT date settlement agreement executed], against BBMC Mortgage, LLC,

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Bridgeview Bancorp, Inc., and their affiliates, parents, subsidiaries, predecessors,
successors and their respective employees and agents, whether known or
unknown, for non-payment or improper payment of overtime compensation under
any federal, state, or local law, regulation or common law, including but not
limited to claims under the federal Fair Labor Standards Act and all applicable
state and local wage/hour and wage payment laws, relating to my employment at
Bridgeview Bancorp, Inc. and/or any of its subsidiaries and affiliates (including
but not limited to BBMC Mortgage, LLC and its successor division within
Bridgeview Bank) in the position of Mortgage Loan Originator or similar position
at any time from August 20, 2012 to January 31, 2019. If employed in the State
of California, | further waive and release all claims for non-payment or improper
payment of paid rest breaks; failure to provide paid rest breaks; failure to provide
meal periods; failure to provide accurate written wage statements; and waiting
time penalties, under the California Labor Code, California Business and
Professions Code and any other law, regulation or order of the State of California
or any governmental entity within the State of California.

Individuals in the State of California further release any and all rights under Section 1542
of the California Civil Code which you have through the date the Settlement Agreement is
executed. Section 1542 provides:

A general release does not extend to claims that the creditor or
releasing party does not know or suspect to exist in his or her favor
at the time of executing the release and that, if known by him or her,
would have materially affected his or her settlement with the debtor
or released party.

Any Eligible Settlement Collective Member who timely cashes a Settlement Check agrees
to the Settlement and to the release of claims in Section 4.1. Any Eligible Settlement
Collective Member who does not timely cash a Settlement Check will not be bound by the
Settlement or release of claims in this Section 4.1.

By signing the Agreement, and receiving a Service Award, the Named Plaintiff
additionally waives, releases and discharges BBMC Mortgage, LLC, Bridgeview
Bancorp., Inc. and their affiliates, parents, subsidiaries, predecessors, successors,
employee benefit plans and their respective employees and agents, from all demands,
claims and actions, whether known or unknown, relating to her employment or
termination of employment with any Releasee including but not limited to claims for
overtime compensation and including but not limited to claims under the Americans With
Disabilities Act, National Labor Relations Act, Fair Labor Standards Act, Equal Pay Act,
Employee Retirement Income Security Act of 1974, Workers Adjustment and Retraining
Notification Act, Title VII of the Civil Rights Act of 1964, Civil Rights Acts of 1866,
1871 and 1991, Family and Medical Leave Act, California Fair Employment and

Housing Act, California Labor Code, California Business and Professions Code and any
other federal, state or local statute, regulation, and order, and in common law, through the
date the Named Plaintiff signs this Agreement; provided, however, that Named Plaintiff
does not waive the right to file a charge or complaint with any administrative agency but

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does waive any right to recover any damages or other personal relief based on any
demand, claim or action waived in this Paragraph brought on her own behalf or by any
third party, including as a member of any class or collective action. Named Plaintiff does
not release any claim that cannot be released as a matter of law or her rights under this
Agreement.

By signing the Agreement, Named Plaintiff becomes a party to the Agreement.
VOIDING THE AGREEMENT

If the Court rejects the Settlement and/or this Agreement, fails to approve and enter the
Approval Order in substantially the form submitted by the Parties, or fails to enter a Final
Judgment, unless the Parties agree in writing, this Agreement shall be void ab initio except
as to the provisions expressly stated in this Agreement to survive, and Defendants shall
have no obligations to make any payments under the Settlement or this Agreement

A decision of the Court declining to approve any material condition of this Agreement,
which effects a fundamental change of the Parties’ agreement (except as to any payment
under Sections 3.2 and 3.3), including requiring that Defendants pay any amount in excess
of Seven Hundred Twenty Five Thousand and No/100ths Dollars ($725,000.00), shall
render the entire Settlement voidable and unenforceable as to all Parties at the option of
either Party. Each Party may exercise its option to void this Settlement by giving notice,
in writing, to the other and to the Court within fifteen (15) days of the Court’s disapproval
of any material condition, but in no event at any time after the Approval Order.

Unless the Parties agree in writing otherwise, in the event that the Agreement is not
approved by the Court or the Settlement set forth in the Settlement Agreement is revoked,
terminated, cancelled, declared void or fails to become effective in accordance with its
terms, or if there is no Approval Order, the Parties shall resume litigation at that time as if
no Agreement had been entered. In such event, the terms and provisions of the Agreement,
and the approval of any settlement class/collective for purposes of implementing this
Settlement, shall have no further force and effect with respect to the Parties and shall not
be used in such litigation or in any other proceeding for any purpose, and any judgment or
order entered by the Court in accordance with the terms of the Agreement (including
without limitation any order certifying the case or any part of the case as a class or
collective action for settlement purposes) shall be treated as vacated.

LIMITED CONFIDENTIALITY

The Parties and their Counsel will not issue any public statement, press release, website
postings, social media posting, marketing piece or press outreach disclosing the identities
of the Defendants, except as necessary to implement the settlement. If contacted by the
media at any time, Named Plaintiff and Class Counsel will say only that, “The Parties have
worked together to reach a fair resolution of this dispute” or words to that effect.

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NON-DISPARAGEMENT

Named Plaintiff will not make any disparaging or negative remarks about Defendants, its
products, business affairs or employees. However, nothing in this Agreement prohibits
any individual from providing information to, filing a complaint or charge with, or
cooperating with any administrative agency, court or other governmental entity.

During their employment with Defendants, Defendants’ management employees will not
make any disparaging or negative remarks about Plaintiff or her business affairs.
However, nothing in this Agreement prohibits any individual from providing information
to, filing a complaint or charge with, or cooperating with any administrative agency,
court or other governmental entity,

PARTIES’ AUTHORITY

The signatories hereto hereby represent that they are fully authorized to enter into this
Agreement and to bind the Parties hereto to the terms and conditions hereof.

MUTUAL COOPERATION

The Parties agree to reasonably cooperate with each other and to take all steps necessary
and appropriate to obtain the Court’s approval of this Agreement and all of its terms and
to effectuate the terms of this Agreement, including but not limited to, execution of such
documents and to take such other action as may reasonably be necessary to implement the
terms of this Agreement. The Parties to this Agreement shall use their commercially
reasonable efforts, including all efforts contemplated by this Agreement and any other
efforts that may become necessary by order of the Court, or otherwise, to effectuate this
Agreement and the terms set forth herein. As soon as practicable after execution of this
Agreement, Plaintiffs’ Counsel shall, with the assistance and cooperation of Defendant and
its counsel, take all necessary steps to secure the Court’s approval of this Agreement.

NOTICES

Unless otherwise specifically provided herein, all notices, demands or other
communications given hereunder shall be in writing and shall be deemed to have been duly
given as of the third business day after mailing by United States registered or certified mail,
return receipt requested, addressed as follows:

To Plaintiffs and/or Settlement Collective:

Rowdy B. Meeks

Rowdy Meeks Legal Group LLC
8201 Mission Road, Suite 250
Prairie Village, KS 66208

(913) 766-5585
Rowdy,meeks@rmlegalgroup.com

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To Defendants:

Bruce R. Alper

Vedder Price P.C.

222 North LaSalle Street
Suite 2600

Chicago, IL 60601

(312) 609-7500

balper@vedderprice.com
NO ADMISSION OF LIABILITY

Defendants deny all of the allegations in the Complaint and deny that it is liable or owes
damages to anyone with respect to the alleged facts or causes of action asserted in the
Litigation. Nonetheless, without admitting or conceding any liability or damages
whatsoever, Defendants have agreed to settle this matter on the terms and conditions set
forth in this Agreement, to avoid the burden, expense, and uncertainty of litigation.

INTERPRETATION AND ENFORCEMENT/MISCELLANEOUS TERMS

Further Acts. Each Party, upon the request of any other Party, agrees to perform such
further acts and to execute and deliver such other documents as are reasonably necessary
to carry out the provisions of this Agreement.

No Assignment. Named Plaintiffs’ Counsel and Plaintiffs represent and warrant that they
have not assigned or transferred, or purported to assign or transfer, to any person or entity,
any claim or any portion thereof or interest therein, including, but not limited to, any
interest in the litigation, or any related action, and any attempt to do so shall be of no force
or effect.

Entire Agreement. This Agreement constitutes the entire agreement between the Parties
with regard to the subject matter contained herein, and all prior and contemporaneous

negotiations and understandings between the Parties shall be deemed merged into this
Agreement.

Binding Effect. This Agreement shall be binding upon the Parties and, with respect to
Plaintiffs, their spouses, children, representatives, heirs, administrators, executors,
beneficiaries, conservators, attorneys and assigns.

Arms’ Length Transaction; Materiality of Terms. The Parties. through their respective
counsel, have negotiated all the terms and conditions of this Agreement at arms’ length.
All terms and conditions of this Agreement in the exact form set forth in this Agreement
are material to this Agreement and have been relied upon by the Parties in entering into
this Agreement, unless otherwise expressly stated.

Captions. The captions or headings of the Sections and paragraphs of this Agreement have
been inserted for convenience of reference only and shall have no effect upon the
construction or interpretation of any part of this Agreement.

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Construction. The determination of the terms and conditions of this Agreement has been
by mutual agreement of the Parties. Each Party participated jointly in the drafting of this
Agreement, and therefore the terms and conditions of this Agreement are not intended to
be, and shall not be, construed against any party by virtue of draftsmanship.

Governing Law. This Agreement shall in all respects be interpreted, enforced and
governed by and under the laws of the State of Illinois, without regard to choice of law
principles, except to the extent that the law of the United States governs any matter set
forth herein, in which case such federal law shall govern.

Continuing Jurisdiction. The Court shall retain jurisdiction over the interpretation and
implementation of this Agreement as well as any and all matters arising out of, or related
to, the interpretation or implementation of this Agreement and of the Settlement
contemplated thereby.

Waivers, etc. to Be in Writing. No waiver, modification or amendment of the terms of this
Agreement, whether purportedly made before or after the Court's approval of this
Agreement, shall be valid or binding unless in writing, signed by or on behalf of all Parties,
and then only to the extent set forth in such written waiver, modification or amendment
with any required Court approval. Any failure by any Party to insist upon the strict
performance by the other Party of any of the provisions of this Agreement shall not be
deemed a waiver of future performance of the same provisions or of any of the other
provisions of this Agreement, and such Party, notwithstanding such failure, shall have the
right thereafter to insist upon the specific performance of any and all of the provisions of
this Agreement.

Notice. The Settlement Notice will advise all Eligible Settlement Collective Members of
the binding nature of the release and that by cashing a Settlement Check they are bound by
the release provisions in this Agreement.

Counterparts. The Parties may execute this Agreement in counterparts, and execution in
counterparts shall have the same force and effect as if all Parties had signed the same
original instrument.

Facsimile and Email Signatures. Any Party may execute this Agreement, whether
electronically or otherwise, by causing its counsel to sign on the designated signature
block below and transmitting that signature page via facsimile or email to counsel for the
other Party, Any signature made and transmitted by facsimile or email for the purpose of
executing this Agreement shall be deemed an original signature for purposes of this
Agreement and shall be binding upon the Party whose counsel transmits the signature
page by facsimile or email.

Signatories. This Agreement is valid and binding if signed by Defendants’ authorized
representative and Named Plaintiff.

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DocuSign Envelope ID: FES6B4AC-3B4D-463E-A53C-205E53A2D7B0

WE AGREE TO THESE TERMS.

DATED: February7 019 BBMC MORTGAGE LLC
BRIDGEVIEW BANCORP, INC.

ie
*Z

 

Its: Attorney
DATED: February __, 2019 LYNN JEAN PIEKSMA
2/28/2019 (omy by:
—— Ss TO EFARNASRAAND

 

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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

LYNN JEAN PIEKSMA, on behalf of herself
and all others similarly situated,

 

Plaintiff,
Vv. No. 1:15-cv-7312
BBMC MORTGAGE, LLC and BRIDGEVIEW Judge Jorge L. Alonzo
BANCORP, INC., Magistrate Michael T. Mason
Defendants.

JOINT STIPULATION OF SETTLEMENT AND RELEASE

EXHIBIT A

SETTLEMENT NOTICE
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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

LYNN JEAN PIEKSMA, on behalf of herself
and all others similarly situated,

 

Plaintiff,
v. No. 1:15-cv-7312
BBMC MORTGAGE, LLC and BRIDGEVIEW Judge Jorge L. Alonzo
BANCORP, INC., Magistrate Michael T. Mason
Defendants.

OFFICIAL COURT NOTICE AND
OPPORTUNITY TO PARTICIPATE IN SETTLEMENT

To:

[NAME]
[ADDRESS]
[CITY, STATE ZIP}

Please be advised that because you submitted a timely Consent to Become a Party Plaintiff
in this lawsuit, you are entitled to a payment from the settlement of this suit. A settlement

check payable to you is enclosed. Read this entire Notice before signing and cashing the
check.

A federal court authorized this Notice. This is not a solicitation from a lawyer.

O This Notice is directed to any individual who was employed by BBMC Mortgage, LLC or
its successor division within Bridgeview Bank (“BBMC”) as a Mortgage Loan Originator
or similar position (all such positions referred to herein as “MLOs”) at some time between
August 20, 2012 and January 31, 2019 (the “Eligibility Period”) and who timely filed a
Consent to Become a Party Plaintiff in this lawsuit (“Eligible Settlement Collective
Member”).

O Plaintiff Lynn Jean Pieksma is a former MLO who sued BBMC alleging that it failed to
pay her and other similarly situated MLOs all overtime compensation due them; and in
California, failed to pay for rest breaks and did not provide meal periods. Plaintiff filed
the lawsuit as a collective action under the federal Fair Labor Standards Act (“FLSA”), the
California Labor Code and California Business and Professions Code.

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O

BBMC has denied the Plaintiff's allegations and asserts that MLOs were compensated
correctly under the law. Nevertheless, the Parties have agreed to settle this dispute for the
purpose of avoiding further disputes and litigation with its attendant risk, expense and
inconvenience. The Court has not made any ruling on the merits of the claims and no Party
has prevailed in this action. However, the Court has reviewed and approved the settlement
and this Notice.

The settlement monies are being used to pay Eligible Collective Settlement Members and
to pay attorneys’ fees, service awards, litigation costs and the expense of administering the
settlement.

Although it denies the allegations, BBMC is encouraging all Eligible Collective Settlement
Members to participate in the settlement and accept their settlement payment.

Under the allocation formula created by the settlement, you are being offered the enclosed
settlement payment of $ . This amount is based on the number of weeks in
which you worked as an MLO during the Eligibility Period. If you worked as an MLO in
the State of California during the Eligibility Period, you will receive a higher payment in
consideration for your release of claims under California state law as alleged in the lawsuit.
The minimum Settlement Payment is F ifty Dollars ($50.00).

According to BBMC records, you worked as an MLO in work weeks during the
Eligibility Period. You may have worked longer as an MLO during other periods.
BBMC’s personnel records are presumed to be correct unless you submit evidence to the
contrary. If you believe BBMC’s personnel records are incorrect, you may submit
documents proving otherwise to the Settlement Claims Administrator at the address listed
below, postmarked on or before [INSERT DATE 93 days after mailing], and if appropriate,
your settlement payment will be adjusted and a supplemental check will be issued to you.

O Neither Class Counsel nor BBMC make any representations concerning the tax
consequences of your settlement payment. You are advised to obtain personal tax advice
prior to acting in response to this Notice.

Your decisions have legal consequences for you. You have a choice to make:

 

YOUR LEGAL RIGHTS AND OPTIONS IN THIS SETTLEMENT:

 

By cashing the settlement check, you are agreeing to participate in the

settlement and you are releasing all claims against BBMC and its affiliates
IF YOU CASH : , . ‘ :
THE CHECK relating to non-payment or improper payment of overtime compensation and, if

applicable, under California law governing rest breaks and meal periods, while
you were an MLO during the Eligibility Period.

 

 

IF YOU DO Be ‘
NOT CASH If you do not want to participate in the settlement, you should not cash your

THE CHECK settlement check. If you do not cash your settlement check by [INSERT DATE

 

93 days after mailing], your check will be cancelled, you will not receive a

 

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settlement payment in this case, and you will not release any claims against
BBMC under the settlement.

 

 

 

 

0 These rights and options are explained more fully below.

BASIC INFORMATION

 

ll. Why did I receive this Notice and a settlement check? oS |

BBMC’s records showed that worked as a non-exempt MLO in one or more work weeks
during the Eligibility Period. You also submitted a timely Notice of Consent to Become a Party
Plaintiff in this lawsuit.

You are receiving this Notice because you have a right to know about the settlement of this
collective action lawsuit that affects your rights.

Along with this Notice, you are receiving a settlement check that you may cash if you agree
to participate in the settlement of this lawsuit and to release claims against BBMC and its affiliates
as explained in Paragraph 9 below.

The Court supervising this case is the United States District Court for the Northern District
of Illinois located in Chicago, Illinois. The lawsuit is known as Pieksma v. BBMC Mortgage, LLC
and Bridgeview Bancorp, Inc., No. 15-cv-7312.

The individual who filed the lawsuit is the “Plaintiff” BBMC Mortgage, LLC and
Bridgeview Bancorp, Inc. are the “Defendants.”

 

2. What is this lawsuit about? = Le ee AO |

The lawsuit alleges that BBMC did not pay MLOs all overtime compensation due them in
violation of federal law and, for those MLOs who worked in California, failed to pay them for rest
breaks and did not provide meal periods in violation of California state law.

Defendants deny these allegations.

The Court has not made any ruling on the merits of the claims or defenses, and no Party
has prevailed in this action.

 

3. What is a collective action? _—— a. 6 ae

In a “collective action,” one or more individuals called “Named Plaintiffs” sue on behalf
of other individuals who may have similar claims. However, the individuals who have similar
claims do not become part of the collective action unless they opt-in, or agree to join the collective
action. You agreed to join the collective when you filed a timely Consent to Become a Party
Plaintiff and you are now being offered the opportunity to participate in the settlement of this
lawsuit by cashing the enclosed settlement check.

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4. Why is there a settlement? - —- 4

The Court did not decide in favor of Plaintiffs or BBMC and neither Party prevailed. The
Parties agreed to a settlement to avoid further disputes and the risk, expense and inconvenience of
litigation. The Plaintiff and her attorney believe that this settlement is a good outcome for all
individuals who decide to participate in the settlement. But you need not participate if you believe
the settlement is not in your interests.

WHO IS IN THE SETTLEMENT

 

5. How do I know if I will be included in the Settlement? eS |

You are receiving a settlement check because you submitted a timely Consent to Become
a Party Plaintiff. If you cash the settlement check no later than [INSERT date 93 days after
mailing], you will be bound by the settlement and you will be releasing claims as described in
Paragraph 9 below.

THE SETTLEMENT BENEFITS — WHAT YOU GET

 

6. What does the Settlement provide? = —— |

BMO has agreed to pay up to $725,000.00 into a fund to be divided among you and the
other Eligible Settlement Collective Members. The settlement fully resolves and satisfies any
claims for attorneys’ fees and costs approved by the Court, all amounts to be paid to Eligible
Settlement Collective Members, any Court-approved service award to Plaintiff, and the Settlement
Administrator’s fees and costs. Settlement checks that are not cashed by [INSERT date 93 days
after mailing] will be null and void.

 

[7.. How much is my payment and how was if calculated? ———- |

Based on the allocation formula that has been approved by the Court, you are receiving a
settlement check for $ . half of which is subject to deductions for applicable taxes and
withholdings like any other paycheck, and for which you will receive a W-2, and half of which
will not be taxed at this time and will be reported on IRS Form 1099. The allocation formula takes
into account the number of work weeks in which you worked as an MLO during the Eligibility
Period. The Settlement Agreement contains the exact allocation formula. An Eligible Settlement
Collective Member will receive a Settlement Payment of no less than Fifty Dollars ($50,00). You

may obtain a copy of the Settlement Agreement by following the instructions in Paragraph 12
below.

The allocation formula provides Eligible Settlement Collective Members who worked in
California during the Eligibility Period with a higher payment than other Eligible Settlement
Collective Members in settlement of the claims under California law with respect to rest breaks
and meal periods,

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HOW YOU GET A PAYMENT

 

8. How dol get my payment? __ Jee a aa eS

A check is enclosed. All you have to do is cash the settlement check by [INSERT date 93
days after mailing].

 

9. What am I giving up if I cash the settlement check? ——~=~=SC~C~C<S<C 7S; =|

You will not be bound by the settlement unless you timely cash your settlement check. If
you do cash the settlement check, you are agreeing to the release of claims against BBMC and its
affiliates as described in this Paragraph 9. It also means that all of the Court’s orders in this case
will apply to you and will legally bind you.

By cashing the settlement check:

You waive, release, and forever discharge any claim you have or may have through
[INSERT date settlement agreement executed], against BBMC Mortgage, LLC,
Bridgeview Bancorp, Inc., and their affiliates, parents, subsidiaries, predecessors,
Successors and their respective employees and agents, whether known or unknown,
for non-payment or improper payment of overtime compensation under any federal,
state, or local law, regulation or common law, including but not limited to claims
under the federal Fair Labor Standards Act and all applicable state and local
wage/hour and wage payment laws, relating to your employment at Bridgeview
Bancorp, Inc, and/or any of its subsidiaries and affiliates (including but not limited
to BBMC Mortgage, LLC and its successor division within Bridgeview Bank) in
the position of Mortgage Loan Originator or similar position at any time from
August 20, 2012 to January 31, 2019, If employed in the State of California, you
further waive and release all claims for non-payment or improper payment of paid
rest breaks; failure to provide paid rest breaks: failure to provide meal periods;
failure to provide accurate written wage statements; and waiting time penalties,
under the California Labor Code, California Business and Professions Code and
any other law, regulation or order of the State of California or any governmental
entity within the State of California.

Individuals in the State of California further release any and all rights under Section 1542

of the California Civil Code which you have through the date the Settlement Agreement is
executed. Section 1542 provides:

A general release does not extend to claims that the creditor or
releasing party does not know or suspect to exist in his or her favor
at the time of executing the release and that, if known by him or her,
would have materially affected his or her settlement with the debtor
or released party.

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THE LAWYERS REPRESENTING YOU

 

10. DoT havea lawyer inthisease? tS SS eee |

 

The Court has determined that the lawyers at the law firm of Rowdy Meeks Legal Group
LLC are qualified to represent you and the other Eligible Settlement Collective Members. These
lawyers are called “Class Counsel.” You will not be charged for these attorneys. You do not need
to retain your own attorney to participate in the settlement. However, you may retain or consult
with any attorney you choose at your own expense before deciding whether to participate in the
settlement.

 

11. What other payments are coming out of the settlement fund? | |
S

A. Attorney’s Fees and Costs. The Court has approved the payment of $INSERT
AMOUNT from the settlement fund to Class Counsel for payment of attorneys’ fees. These fees
compensate Class Counsel for investigating the facts, litigating the case and negotiating and
finalizing the settlement, The Court also has approved the payment of $INSERT AMOUNT to
Class Counsel for their out-of-pocket costs.

B. Service Award to Named Plaintiff and Deponents. The Court has approved the payment
of SINSERT AMOUNT from the settlement fund to the Named Plaintiff to recognize the risk she
took and her service to the collective action, and the payment of $INSERT AMOUNT to the
individuals who had their depositions taken in this case. Named Plaintiff and the Deponents will
receive these payments in addition to a payment under the allocation formula.

C. Settlement Administration. The fee for the Settlement Administrator also will be paid
from the settlement fund.

FOR MORE INFORMATION

 

12. Are there more details about the Seidenent? Sa fe ae |

This Notice summarizes the proposed settlement. A document filed with the Court called
the Joint Stipulation of Settlement and Release contains all terms of the settlement. You are
encouraged to read it. To the extent there is any inconsistency between this Notice and the
settlement agreement, the provisions in the settlement agreement control. You may obtain a copy
of the settlement agreement by sending a request, in writing, to the Settlement Administrator at:

NAME AND CONTACT INFO OF SETTLEMENT ADMINISTRATOR

 

13. How do I get more information? > ae SS |

If you have other questions about the settlement, you can contact the Settlement
Administrator, or Class Counsel at the address and/or telephone number below.

Rowdy B. Meeks

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Rowdy Meeks Legal Group LLC
8201 Mission Road, Suite 250
Prairie Village, KS 66208

(913) 766-5585
Rowdy.Meeks@rmlegalgroup.com

DATED: » 2019

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